Case 3:14-cV-01608-.]AF Document 9 Filed 08/06/14 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF PUERTO RICO

Civil No: 14 -

DISH NETWORK L.L.C, ECHOSTAR
TECHNOLOGIES L.L.C., and
NAGRASTAR LLC

Plaintiffs
v.

Edgardo Carrasquillo Reyes, a/k/a “Edgardo
Carrasquillo”, “Ed Reyes”, “Frank Reyes”,
“BluebirdPR” and “Bluebird” d/b/a
Generation IKS,
www.caribbeansystems.galeon.com

and JOHN DOES 1-3

Defendant

 

 

Aaron Tesanovich declares and says:

1. My name is Aaron Tesanovich.

DECLARATION GF AARON TESANOVICH IN
SUPPORT OF PLAINTIFFS’ EX PARTE
MOTIONS FOR TEMPORARY RESTRAINING
ORDER, CIVIL SEIZURE/ IMPOUNDMENT
ORDER, ORDER TO SHOW CAUSE, ORDER
TEMPORARILY SEALING CASE, ORDER
FOR ASSET FREEZE, AND ORDER FOR
ACCOUNTING AND SUMMARIZATION OF
OTHER DECLARATIONS

2. I am making this declaration in support of the Plaintiffs’ Ex Parte Motions for Temporary

Restraining Order, Civil SeiZure/Impoundment Order, Order to Show Cause, Order

Temporarily Sealing Case, Order for Asset freeze and Order for Accounting.

3. l was involved in satellite television piracy for approximately 12 years, including piracy of the

satellite television programming offered by DISH NetWork LLC (“DISH”) and DIRECTV,

LLC (“DIRECTV”) in the United States. Most recently, l Was a re-seller of subscriptions for a

private lntemet Key Sharing (“IKS”) server operated by Gauravjit Gill (referred to herein as

“Gill” or “G-MAN”) that permitted subscribers to obtain DISH’s encrypted satellite television

programming (“DISH Programming”) without authorization from or payment to DISH. As

Case 3:14-cV-01608-.]AF Document 9 Filed 08/06/14 Page 2 of 6
2

such l have personal knowledge of the matters to which l hereinafter depose. Where l do not
have personal knowledge, I have stated the source of my information and verily believe it to be
true.
Arrangem ents with the Plaintiffs

On November 1, 2011, Jerry Lee Gee (“Gee”), a representative of NagraStar LLC
(“NagraStar”), along with counsel for DISH and NagraStar and two members of the Federal
Bureau of lnvestigation (“FBI”), attended at my residence while l was at work.
On November 21, 2011, l entered into a Confidential Settlement Agreement with the Plaintiffs
in settlement of the claims against me with respect to my involvement in satellite piracy (the
“Conf`idential Settlement Agreement”). The terms of the settlement are confidential
l agreed to a permanent injunction enjoining me from engaging in piracy in the futurc. l also
agreed to provide information to the Plaintiffs about persons involved in piracy and to
co-operate with the Plaintiffs with respect to any investigations l also agreed that the
information l provided would be complete and truthful, and that l would lose the benefit of the
Confldential Settlement Agreement if the information l provided to the Plaintiffs were untrue.
Since I entered into the Confidential Settlement Agreement, I have had minimal involvement
in the piracy community.

Introduction to Satellite Television Piracv
As a result of my work as an installer of DISH systems and a few DIRECTV systems that I did
on my own, I became familiar with satellite television equipment My involvement in satellite
piracy began while l Was a student at Georgia Southem. l developed an interest in piracy and
largely taught myself how to “hack” satellite television access cards, program them with piracy

software, and set up systems that could be used to obtain satellite television programming

lO.

ll.

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Case 3:14-cV-Ol608-.]AF Docuzment 9 Filed 08/06/14 Page 3 of 6

supplied by DISH and DIRECTV for free. l started by modifying DISH and DIRECTV
Access Cards and setting up pirated satellite television systems at a small charge for friends
and family referred to me by word of mouth. l never operated a web site or started a business.

l also learned about piracy from the lnternet. There are many web sites dedicated to piracy.
Sorne of these web sites serve as forums for the exchange of information pertaining to piracy.
Piracy forums may provide information on piracy methods and technologies, offer piracy
software files for download, and host discussions on piracy topics. They thereby serve as a
community for the exchange of information on piracy by both piracy dealers and their
customers.

ln 2004, l was a member of several piracy forums, including dss-newbies.net and
dssevolution.com. l used the usemame “aaronwt6” and the e-mail address
aaronwt6@h0tmail.com. l continue to use this usemame up to the present time. To the best of
my recollection, l have never used any other usemame or e-mail address on any piracy forums.

In 2004, l stopped engaging in DIRECTV piracy because, at that time, the DIRECTV access
card became “secure” and impossible to hack. l shifted my focus exclusively to piracy of
DISH Programming and the “hacking” of DISH Access Cards.

ln 2004, l was also involved in selling equipment for satellite television piracy. l bought and
sold DISH Receivers on eBay to supply to my customers and set up pirated systems for them.
My customer base was local and remained limited to friends and family and word of mouth

referrals

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Case 3:14-cV-Ol608-.]AF Document 9 Filed 08/06/14 Page 4 of 6

4

Dealings with Edgardo Carrasquillo

ln 2008 l met an individual online that l would later find out was Edgardo Carrasquillo, located

in Puerto Rico. His contact information was:

Name: Edgardo Carrasquillo

Address: RR 6 BOX 9996, San Juan, PR 00926

Email: frankreyes@prtc.net
Egy_pn@hotmail. com

Ebay ID: bluebirdpr

IKS System Name: bluebird IKS

I met and interacted with Carrasquillo on the auction website eBay and on the satellite

television piracy forum i»vww.dss~newbies.net.

The nature of my interaction with Carrasquillo was regarding the piracy of DISH satellite

transmissions, specifically pertaining to DISH Rom102 smartcards and IKS systems.

l chatted with Carrasquillo online on approximately 50 occasions. I have never met him. The

extent of our interaction was on eBay, www.dss-newbies.net and via MSN Messenger.

Here is an example of a chat log between myself and Carrasquillo on November 3, 2011,

where we discuss DISH IKS piracy, exchanging smartcards, utilizing DISH receivers and

modifying DISH receivers:

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11/3/2011
11/3/2011
11/3/2 011
1 1/3/2 011

11/3/2011

11/3/2011
11/3/2 011

1 1/3/2 011

10:23:43 AM Aaron ED. Hey bud. Its Thursday again. You think we're in for
more trouble this evening?

10:24:1 7AM ED. Aaron ise the sub here they was frezzen agin

10:24:28 AM ED. Aaron as happens last week

10.‘24.°42 AM Aaron ED. Damn. T hats not good

10:25:27 AM ED. Aaron what i doing is treing to make the exchance of the card
s at 3;15 pm

10.'25:57AM Aaron ED. Ah, goteha

10:26.'10 AM Aaron ED. I hope are guys are prepared as well

10:26:59 AM ED. Aaron cus ,se .i had few ird out and un plug ..and afther that
happens i place back in and they are working with out
a prtonblem

10:2 7:34 AM ED. Aaron but they was connected all nigth till 10am that day and
they rolls keys

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20.

Case 3:14-cV-Ol608-.]AF Document 9 Filed 08/06/14 Page 5 of 6

11/3/2011

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11/3/2 01 1
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1 1/3/2 011
1 1/3/2011
1 1/3/2 011
11/3/2011
11/3/2 01 1

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11/3/2011
11/3/2011

Carrasquillo and

5

10:2 7:34 AM Aaron ED. Cool. Were you still wanting me to read those tsops for
you?

10:28.°46 AM ED. Aaron you know what i dd in some 301 ,exchance the card

10:28:54 AM ED. Aaron for a virg one

10:28:55 AM Aaron ED. Oh, ok

10:29.'23 AM Aaron ED. Just checking. You had mentioned having me read
those for you and wasn 't sure if you were sending.

10:30:04 AM ED. Aaron .man i was so busy ..but i each you this week ok

10:30:37AM Aaron ED. Sure thing. N/P

10:30.'42 AM Aaron ED. I certainly understand.

10:31:54 AM ED. Aaron man .so busy re doing all the set up ..i still missing
some states

10:32:36 AM Aaron ED. I hear ya man. Its a full time job.

10:33:38 AM`ED. Aaron now it is .’!

10:33.'52 AM ED. Aaron did you check the loggers

10:34:07AM ED. Aaron anything on that ??

10:34:23 AM Aaron ED. I don 't have anything like that myself

10:34:27AM ED. Aaron Season-Interface-Logger

10:34:51 AM ED. Aaron I place aq order for 4 off them

10:35.'04 AM ED. Aaron hope we can do something withit

10:35:20 AM Aaron ED. Nice. Hope it shows you something positive.

10:36:13 AM ED. Aaron i let you know ..as soon arrive ..

10:36.'39 AM Aaron ED. Cool man. Look forward to hearing the news. Do that
for sure.

10:36:56 AM Aaron ED. lf I hear anything positive on ours I'll pass the info
your way.

10:37:27AM ED. Aaron ok.i had to run ..i be in toach

10:3 7:32 AM Aaron ED. C ya

I were discussing the Bluebird IKS Server in this chat. Bluebird IKS is a

service and server that he led me to believe he owned, sold subscriptions to, operated,

maintained

I believe that Edgardo Carrasquillo is running and maintaining an IKS server and is openly

selling his services via word of mouth and on the Internet.

l had Carrasquillo’s contact information from our interaction on Ebay. He purchased items

from me and l shipped them to him at the address listed above;

Case 3:14-cV-Ol608-.]AF Docu6ment 9 Filed 08/06/14 Page 6 of 6

Full Disclosure

21. ln the interest of full disclosure:

i. l never told Carrasquillo that l entered into the Confidential Settlement
Agreement with the Plaintiffs
ii. Carrasquillo is not aware that l have provided my MSN chats with him to
the Plaintiffs
iii. Carrasquillo is not a competitor of mine in this business or any other

business

l declare this 7_'/' day of J k/ 2014 under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct.

g aj ,z

Mr. Aaron Tesanovich

